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        In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 17-897V
                                        Filed: July 21, 2023
                                            PUBLISHED

                                                                      Special Master Horner
 TIMOTHY WOODS,

                         Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                         Respondent.


Mark Theodore Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for
petitioner.
Mary Eileen Holmes, U.S. Department of Justice, Washington, DC, for respondent.

                                                 DECISION1

        On June 30, 2017, petitioner filed a petition under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa, et seq. (2012),2 alleging that, as a result of his
October 11, 2014, influenza (“flu”) vaccination, he suffered orbital eye pain, decreased
vision, vision loss, and optic neuritis. (ECF No. 1.) Alternatively, petitioner alleged the
subject flu vaccination significantly aggravated these conditions. (Id.) On December 6,
2022, a Finding of Fact issued, concluding that petitioner did not preponderantly
demonstrate that he suffered optic neuritis as alleged. (ECF No. 101, p. 21; see also
Woods v. Sec’y of Health & Human Servs., No. 17-897V, 2023 WL 19182, at *16 (Fed.
Cl. Spec. Mstr. Dec. 6, 2022).) For the reasons described below, I now further conclude
that petitioner is not entitled to compensation.

1 Because this document contains a reasoned explanation for the action taken in this case, it must be

made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the document will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 Within this decision, all citations to § 300aa will be the relevant sections of the Vaccine Act at 42 U.S.C.

§ 300aa, et seq.

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   I.     Procedural History

        As noted above, I issued a Finding of Fact as to petitioner’s diagnosis on
December 6, 2022, finding there is not preponderant evidence petitioner suffered optic
neuritis. (ECF No. 101, p. 21; Woods, 2023 WL 19182, at *16.) The procedural history
leading to the Finding of Fact is discussed in the Finding of Fact itself and need not be
repeated herein. (ECF No. 101, pp. 2-4; Woods, 2023 WL 19182, at *1–3.)

       Because both the petition and petitioner’s supporting expert report as to vaccine
causation were premised on his alleged optic neuritis, the Finding of Fact was
presumptively dispositive based on the case as it had been framed. (ECF No. 101, pp.
21-22; Woods, 2023 WL 19182, at *16.) However, petitioner was provided an
opportunity to indicate whether he had any other basis upon which to proceed. (ECF
No. 102.) Absent that, a dismissal was anticipated. (Id.)

      Petitioner then filed a motion for review seeking to challenge the Finding of Fact.
(ECF No. 104.) However, the Court of Federal Claims dismissed the motion for review,
concluding that the Finding of Fact did not constitute a decision under 42 U.S.C. §
300aa–12(d)(3)(A). (ECF No. 112, p. 3.) The Court noted that “[i]f Petitioner so
chooses, he may raise his objections to Special Master Horner’s Finding of Fact once
Special Master Horner has issued a decision within the meaning of the Vaccine Act.”
(Id.)

        After petitioner’s motion for review was dismissed, I issued an order instructing
petitioner to file either a status report confirming he intends to develop the record
regarding an injury other than optic neuritis or a written submission pursuant to Vaccine
Rule 8(d). (ECF No. 113.) On July 14, 2023, petitioner filed a status report indicating
that “[a]s petitioner’s treating providers diagnosed him with optic neuritis, and this
diagnosis is supported by both of his experts, petitioner simply cannot file an amended
petition for another injury. Petitioner wishes to preserve his right to file a motion for
review or motion for reconsideration and therefore asks the Court to issue a decision in
accordance with its Finding of Fact issued on December 6, 2022 . . . .” (ECF No. 114.)

   II.    Brief Summary of the Record Evidence

       The full factual record underlying the Finding of Fact as to diagnosis is contained
in the Finding of Fact itself and need not be repeated. (ECF No. 101, pp. 5-15; Woods,
2023 WL 19182, at * 3–11.) Very briefly, at about 36 years of age, petitioner received
the subject flu vaccination on October 11, 2014. (Ex. 4, p. 1.) About nine months later,
he sought care from optometrist Bryan Hoke, O.D., for several symptoms, including
headache, eye pain, blurry vision, and decreased color vision. (Ex. 44, pp. 2, 5.)
Petitioner had delayed seeking treatment for several reasons, including most notably
that he was caring for his wife and taking on additional household burdens due to his
wife having recently suffered a stroke. (Ex. 7, p. 2.) Dr. Hoke referred petitioner to the
Wolfe Eye Clinic where he saw ophthalmologist LeAnn Larson, M.D., who in turn



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recommended a neuro-ophthalmology consult. (Ex. 1, pp. 1-2.) Neither Dr. Hoke nor
Dr. Larson diagnosed or recorded any suspicion of optic neuritis.

       Petitioner ultimately saw neuro-ophthalmologist Matthew Thurtell, M.D., on
November 4, 2015, just over a year after receiving the vaccination at issue. (Ex. 3, pp.
9-15.) Based on the reported history, Dr. Thurtell suspected an attack of optic neuritis
that “may have been vaccination-related,” but as of the time of his examination could
only objectively confirm mild optic neuropathy.3 (Id. at 14.) Dr. Thurtell recommended a
follow up MRI for further evaluation of demyelinating disease, which petitioner did not
pursue. (Id.)

        Based on petitioner’s report of a prior episode of optic neuritis following
vaccination, petitioner’s primary care provider, Dr. Vernon, subsequently agreed that it
was reasonable for petitioner to request an exemption from future flu vaccinations. (Ex.
2, p. 4.) However, Dr. Vernon did not opine that petitioner’s condition was vaccine-
caused, noting instead that there are other factors that could have contributed to optic
neuritis. (See id.)

        The parties filed competing expert opinions with respect to the accuracy of
petitioner’s alleged optic neuritis diagnosis. Marc A. Bouffard, M.D., offered an
extensive expert neuro-ophthalmology opinion on respondent’s behalf indicating that
petitioner’s history is not consistent with optic neuritis and that there is inadequate
evidence available to support the diagnosis of optic neuritis. (Exs. A-B, G, J, L.4) Todd
A. Lefkowitz, M.D., offered a much briefer expert ophthalmology opinion on petitioner’s
behalf disagreeing with aspects of Dr. Bouffard’s assessment and endorsing the optic
neuritis diagnosis. (Exs. 40-41.)

         Two additional expert opinions were filed in this case. Petitioner filed an expert
opinion by neuroimmunologist Lawrence Steinman, M.D. Dr. Steinman opined as to
vaccine-causation, but not diagnosis. (Exs. 8-9, 36.) He indicated that he deferred to
Dr. Thurtell’s diagnosis. (Exs. 8, p. 6; 36, p. 1.) Dr. Steinman opined that the condition
of optic neuritis can be caused by the flu vaccine. Specifically, he opined that
“[p]etitioner’s theory” is that “[t]here is molecular mimicry between components of the
2014-2015 influenza vaccine and the myelin molecule known as MOG. An immune
attac[k] against MOG occurs in optic neuritis.” (Ex. 8, p. 8.) Absent a diagnosis of optic

3 To be clear, optic neuritis was listed as a diagnosis for this encounter.(Ex. 3, p. 13.) However, the
more detailed narrative assessment indicates, “Not surprisingly, today’s neuro-ophthalmic evaluation
showed findings consistent with a mild optic neuropathy OS. Based on the history, I suspect he had an
attack of optic neuritis OS. The attack began shortly after a flu vaccine and, thus, the attack may have
been vaccination-related.” (Id. at 14.) Accordingly, the Finding of Fact explained that in a prior order I
had advised the parties that in my view it would not be accurate to conclude that the diagnosis of optic
neuritis was not made, but the fact of the diagnosis does not mean the basis for the diagnosis is beyond
challenge. (ECF No. 101, p. 2; see also Woods, 2023 WL 19182, at *1.) Thus, this is how Dr. Thurtell’s
opinion was addressed by the Finding of Fact. (ECF No. 101, p. 21; see also Woods, 2023 WL 19182, at
*15-16.)
4 An additional report marked as Exhibit M was filed but was not considered for reasons discussed within

the Finding of Fact. (ECF No. 101, p. 17-19; see also Woods, 2023 WL 19182, at *13-14.)

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neuritis, Dr. Steinman did not otherwise opine that petitioner’s condition could be
considered vaccine caused. Dr. Steinman opined there is a logical sequence of cause
and effect between petitioner’s vaccination and his injury because “[t]he influenza
vaccine contains components that have structural homologies with MOG. Immunity to
MOG is associated with optic neuritis.” (Id. at 20.) Respondent filed a competing expert
opinion by immunologist J. Lindsay Whitton, M.D., Ph.D. (Exs. C-D, H.) Dr. Whitton’s
opinion challenged Dr. Steinman’s assessment that the flu vaccine can cause optic
neuritis. (Ex. C, pp. 4-15.)

   III.    Discussion

       In light of all of the above, this case is now ripe for resolution. Petitioner has
specifically requested that a decision be issued on the current record in accordance with
the prior Finding of Fact. (ECF No. 114.) I have also concluded that the parties have
had a full and fair opportunity to develop the record and that it is appropriate to resolve
this case based on the existing record. See Kreizenbeck v. Sec’y of Health & Human
Servs., 945 F.3d 1362, 1366 (Fed. Cir. 2020) (citing Simanski v. Sec’y of Health &
Human Servs., 671 F.3d 1368, 1385 (Fed. Cir. 2012)); Jay v. Sec’y of Health & Human
Servs., 998 F.2d 979, 983 (Fed. Cir. 1993); see also Vaccine Rule 8(d); Vaccine Rule
3(b)(2).

        The Vaccine Act prohibits a special master from ruling for petitioner based solely
on his allegations unsubstantiated by medical records or medical opinion. See 42
U.S.C. § 300aa–13(a)(1). Generally, to receive compensation in the Vaccine Program,
a petitioner must prove either (1) that he suffered a “Table Injury” – i.e., an injury falling
within the Vaccine Injury Table – corresponding to a covered vaccine, or (2) that he
suffered an injury that was actually caused by a covered vaccine. See 42 U.S.C. §
300aa–13(a)(1)(A); 42 U.S.C. § 300aa–11(c)(1). To satisfy the burden of proving
causation in fact, petitioner must meet the so-called “Althen test” by demonstrating by
preponderant evidence: “(1) a medical theory causally connecting the vaccination and
the injury; (2) a logical sequence of cause and effect showing that the vaccination was
the reason for the injury; and (3) a showing of a proximate temporal relationship
between vaccination and injury.” Althen v. Sec’y of Health & Human Servs., 418 F.3d
1274, 1278 (Fed. Cir. 2005).

       However, the Federal Circuit has concluded that it is “appropriate for the special
master to first determine what injury, if any, [is] supported by the evidence presented in
the record before applying the Althen test to determine causation.” Lombardi v. Sec’y of
Health & Human Servs., 656 F.3d 1343, 1351–53 (Fed. Cir. 2011). Importantly, “the
function of a special master is not to ‘diagnose’ vaccine-related injuries, but instead to
determine ‘based on the record evidence as a whole and the totality of the case,
whether it has been shown by a preponderance of the evidence that a vaccine caused
the [petitioner]’s injury.’” Andreu ex rel. Andreu v. Sec’y of Health & Human Servs., 569
F.3d 1367, 1382 (Fed. Cir. 2009) (quoting Knudsen ex rel. Knudsen v. Sec’y of Health &
Human Servs., 35 F.3d 543, 549 (Fed. Cir. 1994)). Petitioner must “specify his vaccine-
related injury and shoulder the burden of proof on causation.” Broekelschen v. Sec'y of


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Health & Human Servs., 618 F.3d 1339, 1346 (Fed. Cir. 2010). “Although the Vaccine
Act does not require absolute precision, it does require the petitioner to establish an
injury – the Act specifically creates a claim for compensation for ‘vaccine-related injury
or death.’” Stillwell v. Sec'y of Health & Human Servs., 118 Fed. Cl. 47, 56 (2014)
(emphasis omitted) (quoting 42 U.S.C. § 300aa–11(c)). And, in any event, a petitioner
must prove by a preponderance of the evidence the factual circumstances surrounding
his claim. See 42 US.C. § 300aa–13(a)(1)(A).

        In this case, petitioner has not demonstrated by preponderant evidence that he
suffered optic neuritis following administration of his October 11, 2014 flu vaccination for
all the reasons discussed in my prior December 6, 2022 Finding of Fact. (ECF No. 101;
Woods, 2023 WL 19182.) However, petitioner’s expert on causation, Dr. Steinman,
formulated his causal opinion based on the assumption that petitioner suffered optic
neuritis and his explanation that the flu vaccine can cause optic neuritis via molecular
mimicry between vaccine components and myelin tissue molecules known to be
attacked in the context of optic neuritis. Absent optic neuritis, Dr. Steinman did not
provide any opinion that could otherwise implicate petitioner’s flu vaccine as a cause of
any of his symptoms.

       Any causal assessments contained in petitioner’s medical records were likewise
premised on the presence of optic neuritis. Petitioner’s treating neuro-ophthalmologist,
Dr. Thurtell, opined that petitioner’s post-vaccination symptoms “may have been
vaccination-related” because he suspected an attack of optic neuritis arising shortly
after vaccination. (Ex. 3, p. 14.) In that regard, he recommended further MRI follow up
to screen for demyelinating disease. (Id.) A demyelinating optic neuritis would dovetail
with Dr. Steinman’s theory that components of petitioner’s vaccination cross-reacted
with myelin tissue. (Indeed, Dr. Steinman explicitly relied on Dr. Thurtell’s diagnosis of
optic neuritis.) However, the same cannot be said of the optic neuropathy that Dr.
Thurtell actually observed upon examination, which would not necessarily have the
same etiology. See, e.g., Robertson v. Sec’y of Health & Human Servs., No. 18-554V,
2022 WL 17484980, at *12–13 (Fed. Cl. Spec. Mstr. Dec. 7, 2022) (finding that the
expert’s discussion of demyelinating optic neuritis was irrelevant where petitioner
suffered an ischemic form of optic neuropathy); see also Katz v. Sec’y of Health &
Human Servs., No. 04-714V, 2005 WL 6117659, at *18 (Fed. Cl. Spec. Mstr. Nov. 30,
2005) (finding that petitioner’s expert’s theory was “mismatched” to petitioner’s
diagnosis where petitioner suffered a non-demyelinating form of optic neuritis). Apart
from referencing a suspected attack of optic neuritis, Dr. Thurtell did not otherwise
suggest that any of petitioner’s symptoms were caused by his vaccination.

       For all these reasons, a separate Althen analysis relative to optic neuritis is not
required given the prior Finding of Fact. Petitioner necessarily has not met his burden of
proof with respect to causation-in-fact. See Lombardi, 656 F.3d at 1352–53;
Broekelschen, 618 F.3d at 1345–46; Stillwell, 118 Fed. Cl. at 56. Petitioner was
provided an opportunity to determine whether he could demonstrate his symptoms to be
vaccine caused without relying on a diagnosis of optic neuritis, but he has indicated that
he cannot do so. (ECF No. 114.)


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    IV.     Conclusion

       Nothing in this decision is intended to diminish the fact that petitioner did
experience a concerning optic condition of some kind and that this occurred during what
was clearly already a stressful period in his life. For that he has my sympathy.
Moreover, given all of the above, it is understandable that he would come to personally
believe that his condition was caused by his flu vaccination. However, for all the
reasons discussed herein, petitioner has not preponderantly demonstrated that he
actually suffered a vaccine-caused injury and is therefore not entitled to compensation.
Accordingly, this case is DISMISSED.5


IT IS SO ORDERED.

                                                            s/Daniel T. Horner
                                                            Daniel T. Horner
                                                            Special Master




5 In the absence of a timely-filed motion for review of this Decision, the Clerk of the Court shall enter

judgment accordingly.

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